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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                   ORDER
                             Plaintiff,
                                                                  08-cr-100-bbc
              v.

EFRAIN PINEDA BUENVENTURA,

                             Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Retained counsel for defendant has moved to withdraw as counsel in this case after

filing a notice of appeal on behalf of the defendant. Counsel’s motion is denied because the

court lacks authority to rule on it. Counsel should raise the issue in the Court of Appeals

for the Seventh Circuit.

       If counsel believes that defendant is eligible for appointment of counsel under the

Criminal Justice Act, he may submit a request for determination of financial eligibility. If

this court finds defendant eligible, it will advise the court of appeals.

       Entered this 13th day of April, 2009.

                                            BY THE COURT:
                                            /s/
                                            BARBARA B. CRABB
                                            District Judge




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